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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  4:10CR00239-03-BRW

JAIME AGUIANO

                                          ORDER

       Pending is the Prosecution’s Motion to Dismiss Without Prejudice (Doc. No. 56). The

Motion is GRANTED, and the case is DISMISSED without prejudice as to Defendant Jaime

Aguiano only. Defendant Jaime Aguiano is to be released from the custody of the United States

Marshal forthwith.

       IT IS SO ORDERED this 10th day of March, 2011.




                                                  /s/ Billy Roy Wilson
                                                  UNITED STATES DISTRICT JUDGE
